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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

                                                   :
Alan Tate,                                         :
                                                   :
                                                     Civil Action No.: 1:15-cv-13548
                        Plaintiff,                 :
        v.                                         :
                                                   :
Atlantic Credit and Finance, Inc.; The Law         :
                                                     COMPLAINT
Office of John P. Frye, P.C.; and DOES 1-10,       :
inclusive,                                         :
                                                   :
                        Defendants.                :
                                                   :

                For this Complaint, the Plaintiff, Alan Tate, by undersigned counsel, states as

follows:

                                         JURISDICTION

        1.      This action arises out of Defendants’ repeated violations of the Fair Debt

Collection Practices Act, 15 U.S.C. § 1692, et seq. (“FDCPA”).

        2.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), in that the

Defendants transact business in this District and a substantial portion of the acts giving rise to

this action occurred in this District.

                                             PARTIES

        3.      The Plaintiff, Alan Tate (“Plaintiff”), is an adult individual residing in Quincy,

Massachusetts, and is a “consumer” as the term is defined by 15 U.S.C. § 1692a(3).

        4.      Defendant Atlantic Credit and Finance, Inc. (“Atlantic”), is a Virginia business

entity with an address of 2727 Franklin Road Southwest, Roanoke, Virginia 24014, operating as

a collection agency on behalf of itself and others. Defendant is a “debt collector” as the term is

defined by 15 U.S.C. § 1692a(6).
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       5.      Defendant The Law Office of John P. Frye, P.C. (“Frye” and together with

Atlantic “Defendants”), is a Virginia business entity with an address of 3351 Orange Avenue,

Roanoke, Virginia 24012. Defendant is a “debt collector” as the term is defined by 15 U.S.C. §

1692a(6).

       6.      Does 1-10 (the “Collectors”) are individual collectors employed by Defendants

and whose identities are currently unknown to the Plaintiff. One or more of the Collectors may

be joined as parties once their identities are disclosed through discovery.

       7.      Defendants at all times acted by and through one or more of the Collectors.

                     ALLEGATIONS APPLICABLE TO ALL COUNTS

   A. The Debt

       8.      The Plaintiff allegedly incurred a financial obligation (the “Debt”) to an original

creditor (the “Creditor”).

       9.      The Debt arose from services provided by the Creditor which were primarily for

family, personal or household purposes and which meets the definition of a “debt” under

15 U.S.C. § 1692a(5).

       10.     The Debt was purchased, assigned or transferred to Defendants for collection, or

Defendants were employed by the Creditor to collect the Debt.

       11.     The Defendants attempted to collect the Debt and, as such, engaged in

“communications” as defined in 15 U.S.C. § 1692a(2).

   B. Defendants Engaged in Harassment and Abusive Tactics

       12.     Plaintiff is a business owner. Within the last year, Defendants contacted Plaintiff

on Plaintiff’s work and cellular phone numbers attempting to collect the personal Debt.

       13.     On multiple occasions, Defendants placed back-to-back collection calls to all 9 of

Plaintiff’s work office lines, interacting with Plaintiff’s employees and disclosing information
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regarding the Debt. Defendants continued the calls despite being told repeatedly by Plaintiff’s

employees that they were calling a business, that Plaintiff could not be reached and to stop

calling.

           14.   Defendants also called Plaintiff’s personal cell phone at a harassing rate of 3 to 5

calls per day.

           15.   Defendants called Plaintiff from multiple phone numbers, including (540) 767-

7800 and (866) 392-3100, a phone number associated with Frye.1 On some of the calls, the

caller identified itself as Atlantic. On others, the caller identified itself as Frye.

           16.   The repeated calls caused Plaintiff to feel harassed and frustrated.

      C. Plaintiff Suffered Actual Damages

           17.   The Plaintiff has suffered and continues to suffer actual damages as a result of the

Defendants’ unlawful conduct.

           18.   As a direct consequence of the Defendants’ acts, practices and conduct, the

Plaintiff suffered and continues to suffer from humiliation, anger, anxiety, emotional distress,

fear, frustration and embarrassment.

                                    COUNT I
                    VIOLATIONS OF THE FDCPA 15 U.S.C. § 1692, et seq.

           19.   The Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.

           20.   The Defendants’ conduct violated 15 U.S.C. § 1692b(2) in that Defendants

disclosed the existence of the Debt to Plaintiff’s employees.

           21.   The Defendants’ conduct violated 15 U.S.C. § 1692b(3) in that Defendants

contacted Plaintiff’s employees multiple times in an attempt to locate Plaintiff.


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    See http://www.jpfryelaw.com/ (last visited July 27, 2015) (listing number).
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          22.      The Defendants’ conduct violated 15 U.S.C. § 1692c(b) in that Defendants

communicated with individuals other than the Plaintiff, the Plaintiff’s attorney, or a credit

bureau.

          23.      The Defendants’ conduct violated 15 U.S.C. § 1692d in that Defendants engaged

in behavior the natural consequence of which was to harass, oppress, or abuse the Plaintiff in

connection with the collection of a debt.

          24.      The Defendants’ conduct violated 15 U.S.C. § 1692d(5) in that Defendants caused

a phone to ring repeatedly and engaged the Plaintiff and his employees in telephone

conversations, with the intent to annoy and harass.

          25.      The Defendants’ conduct violated 15 U.S.C. § 1692f in that Defendants used

unfair and unconscionable means to collect a debt.

          26.      The foregoing acts and omissions of the Defendants constitute numerous and

multiple violations of the FDCPA, including every one of the above-cited provisions.

          27.      The Plaintiff is entitled to damages as a result of Defendants’ violations.

                                        PRAYER FOR RELIEF

                   WHEREFORE, the Plaintiff prays that judgment be entered against Defendants:

                1. Actual damages pursuant to 15 U.S.C. § 1692k(a)(1) against Defendants;

                2. Statutory damages of $1,000.00 pursuant to 15 U.S.C. §1692k(a)(2)(A) against

                   Defendants;

                3. Costs of litigation and reasonable attorney’s fees pursuant to 15 U.S.C.

                   § 1692k(a)(3) against Defendants;

                4. Punitive damages; and

                5. Such other and further relief as may be just and proper.



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                         TRIAL BY JURY DEMANDED ON ALL COUNTS


Dated: October 9, 2015

                                      Respectfully submitted,

                                      By       /s/ Sergei Lemberg

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